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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SET CAPITAL LLC, et al.,
                                                        1:18-cv-02268 (AT) (SN)
                           Plaintiff,
                   v.

CREDIT SUISSE GROUP AG, et al.,

                           Defendants.



          DEFENDANTS’ RESPONSE TO PLAINTIFFS’ OBJECTIONS TO
         MAGISTRATE JUDGE NETBURN’S OPINION & ORDER DENYING
         PLAINTIFFS’ MOTION FOR LEAVE TO AMEND THE PLEADINGS




                                              CAHILL GORDON & REINDEL LLP
                                                   Herbert S. Washer
                                                   Tammy L. Roy
                                                   Edward N. Moss
                                                   Adam S. Mintz
                                              32 Old Slip
                                              New York, New York 10005
                                              Telephone: (212) 701-3000
                                              Facsimile: (212) 269-5420
                                              hwasher@cahill.com
                                              troy@cahill.com
                                              emoss@cahill.com
                                              amintz@cahill.com
                                              Attorneys for Credit Suisse Group AG,
                                              Credit Suisse AG, Credit Suisse
                                              International, Tidjane Thiam, and David
                                              R. Mathers
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       Credit Suisse Group AG, Credit Suisse AG, Credit Suisse International, Tidjane Thiam,

and David R. Mathers (collectively, the “Defendants”) respectfully submit this response to

Plaintiffs’ Objections to Magistrate Judge Netburn’s Opinion & Order Denying Plaintiffs’ Motion

for Leave to Amend the Pleadings (“Objections” or “Obj.) (ECF No. 337).1

                                PRELIMINARY STATEMENT

       Plaintiffs have moved for leave to amend a complaint that they have known for years is

unfounded and futile. They seek to resuscitate their complaint by proposing an amendment that

advances (1) an entirely new theory as to how the market for XIV Notes was allegedly manipulated

and (2) the same “Flatline Value Claim” that the Second Circuit previously rejected. Magistrate

Judge Netburn has now rebuffed Plaintiffs’ Proposed Complaint, finding that the revised

manipulation theory would require enormous new discovery efforts that would unfairly prejudice

Defendants, and that the pleading deficiencies cited by the Second Circuit in rejecting the Flatline

Value Claim have not been cured.         Defendants respectfully request that this Court affirm

Magistrate Judge Netburn’s Order.

       Magistrate Judge Netburn’s decision regarding the new proposed manipulation claim is

plainly correct. After this Court dismissed Plaintiffs’ entire complaint for failure to state a claim,

the Second Circuit reinstated Plaintiffs’ claims for market manipulation and certain alleged

misrepresentations based on the allegation (which it was required to accept as true) that Credit

Suisse intended to—and did—destroy the value of XIV Notes on February 5, 2018 through its own

allegedly enormous hedging activity in the VIX futures market that day. Set Cap. LLC v. Credit


1
 In this brief, (i) “Order” refers to Magistrate Judge Netburn’s Opinion & Order denying Plaintiffs’
Motion for Leave to Amend (ECF No. 333); (ii) “PTAC” or “Proposed Complaint” refers to
Plaintiffs’ proposed amended complaint, which was denied by Magistrate Judge Netburn (ECF
No. 305-1); (iii) “Defendants’ Opp.” refers to Defendants’ Opposition to Plaintiffs’ Motion for
Leave to Amend the Complaint (ECF No. 310); and (iv) “IIV” refers to the Intraday Indicative
Value. Unless noted, emphasis is added and internal citations and quotations are omitted.
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Suisse Grp. AG, 996 F.3d 64, 77, 86 (2d Cir. 2021); (see also Order at 6–7 (“In vacating the district

court’s prior dismissal order, the Court of Appeals made plain that the allegations [of the operative

complaint] focused on Credit Suisse’s own hedging.”).)

       But in their Proposed Complaint, Plaintiffs essentially abandon that claim and seek “to

redirect the focus of the manipulation” from Credit Suisse’s own allegedly enormous hedging “to

the acts of third parties,” including “short-sellers who borrowed XIV Notes from Credit Suisse,

Credit Suisse swap-parties, investors of volatility securities generally, and other VIX-related

issuers.” (Order at 7.) And although Plaintiffs insisted that they were merely trying to tweak their

original theory, Magistrate Judge Netburn flatly—and correctly—rejected that characterization:

       Plaintiffs’ proposed Third Amended Complaint does not merely expand the basis
       upon which Plaintiffs allege the Offering Documents were false and misleading or
       elaborate on the manner of Defendants’ manipulative conduct. It is a new case
       focused on Defendants’ lending practices and not their hedging. (Id. at 8–9.)

       Plaintiffs have taken this entirely new approach (while at the same time denying they have

done so) because their original theory was predicated on allegations that are untrue. Although they

are only just now trying to remedy the problem, they have known about it for years. In mid-2021,

Defendants made a presentation to Plaintiffs, with supporting evidence, that demonstrated that

Credit Suisse’s own hedging activity (i.e., its trading of VIX futures) was de minimis and thus

could not have “manipulated” any market. Yet, even after initial discovery confirmed the accuracy

of Defendants’ presentation, Plaintiffs did nothing.

       Instead, they waited nearly another year-and-a-half to even begin taking discovery that

might support an entirely new theory of liability, and six months more to file their motion for

leave to amend in April 2023. In other words, as Magistrate Judge Netburn put it, Plaintiffs sought

“to recast their case five years after it was filed, two years after it was remanded from the Court of

Appeals, and (at least) many months (if not years) after Defendants’ document production



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suggested [Plaintiffs’] operative theory may be weak.” (Id. at 8.) Magistrate Judge Netburn

correctly rejected this belated effort, noting that “[u]ndertaking a defense in this new [proposed]

case would be substantial,” and it would be “unduly prejudicial to Defendants to face a

significantly new theory of liability after it has argued for years—to Plaintiffs and the Court of

Appeals—that the original theory was built on a house of cards.” (Id. at 7–8.)

       Magistrate Judge Netburn’s Order is similarly correct with respect to the Flatline Value

Claim, which was long ago dismissed by this Court (and affirmed by the Second Circuit). On this

issue, Magistrate Judge Netburn held Plaintiffs’ claim was futile because Plaintiffs’ proposed “new

allegations do not remedy [the] deficiency” identified by the Second Circuit. (Id. at 9.) Plaintiffs’

Objections lodged with this Court simply rehash the same arguments Magistrate Judge Netburn

considered and correctly rejected. Plaintiffs’ effort to relitigate these issues in their Objections

requires the Order to be reviewed under a clear error standard. See Standard of Review, infra.

       Plaintiffs do claim, however, to be bringing one “new” claim, the rejection of which they

contend is subject to a less deferential (i.e., de novo) standard of review. Specifically, they now

claim that their proposed amendment includes a “new” misrepresentation claim based on Credit

Suisse’s description of its lending of XIV Notes. (Obj. at 15.) But in an effort to convince

Magistrate Judge Netburn that their proposed amendment was a mere tweak, they repeatedly

represented, both in writing and at oral argument, that they were not seeking to add any new claims.

Plaintiffs should not be permitted to take the opposite position now simply because they perceive

doing so would give them a strategic benefit. But regardless of whether the claim is old or new,

Magistrate Judge Netburn properly rejected it, and this Court should affirm that decision.

                     FACTUAL AND PROCEDURAL BACKGROUND

       In its April 2021 decision, the Second Circuit affirmed the dismissal of Plaintiffs’ Flatline

Value Claim, but reversed the dismissal of certain misrepresentation and manipulation claims. Set


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Cap. LLC, 996 F.3d 64. In finding that Plaintiffs plausibly alleged a manipulative act, the Second

Circuit focused on the allegation that Credit Suisse destroyed XIV’s value with its own hedging:

       By offering 5,000,000 XIV Notes on June 30, 2017 and another 16,275,000 notes
       on January 29, 2018—millions of which were ultimately issued—Credit Suisse
       exacerbated the risk of illiquidity in the VIX futures market and created conditions
       in which it knew that its hedging trades would destroy the value of XIV Notes
       during the next volatility spike. When that spike occurred days later on February
       5, 2018, Credit Suisse executed on the alleged scheme. It purchased more than
       105,000 VIX futures contracts, caused the price of XIV Notes to plummet by more
       than 96 percent, and declared an Acceleration Event to lock in its profit. Id. at 77.

       The Second Circuit also relied in part on the presumed truth of Plaintiffs’ allegation “that

Credit Suisse earned between $475 and $542 million in profits when it redeemed the XIV Notes”

at prices that were substantially depressed by Credit Suisse’s alleged manipulation. Id. at 74.

Defendants argued that Credit Suisse did not profit on the redemption of XIV Notes because it had

entered into offsetting hedges that would result in losses to Credit Suisse that would equal any

gains from depressed redemption prices. See id. at 78–80. But the Second Circuit disagreed,

noting that it was required at this early stage to assume the truth of the allegation that Credit Suisse

“did not significantly hedge its position until February 5, 2018, when it purchased 105,000 VIX

futures contracts . . . .” Id. at 80. The Second Circuit also noted that the SEC’s open investigation

“strengthen[ed] the inference [of scienter].” Id. at 79.

       As soon as discovery began, Plaintiffs learned that these lynchpin allegations were false.

In June 2021, two months after the Second Circuit’s decision, Defendants produced to Plaintiffs

the documents produced to the SEC, which made these facts plain.2 And in July 2021, in an effort

to promote transparency, Defendants’ counsel made a presentation to Plaintiffs’ counsel,




2
  For example, Defendants produced a “XIV ETN Post Mortem” presentation, which described
“Credit Suisse[’s] contribution to [the] VIX Futures spike” as “De Minimis, trading at most 4%
of volume during the squeeze.” (See ECF No. 312-32, Decl. Ex. J (XIV-Lit-0222422 at 0222423).)


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explaining in detail—with documentary evidence—precisely why Plaintiffs’ theory was incorrect.

         Defense counsel explained that (i) Credit Suisse “was fully hedged by close of business on

February 4, 2018, such that on February 5, [it] simply needed to rebalance that hedge to account

for the day’s market movements”; (ii) Credit Suisse “traded just 6,919 February and March VIX

futures contracts between 4:00pm and 4:15pm on February 5, 2018—nowhere close to the 105,000

that [P]laintiffs allege”; (iii) as a result of the February 5 rebalancing, Credit Suisse incidentally

recognized only $11.2 million in P&L on the day of the XIV price drop, an amount resulting from

Credit Suisse’s decision to refrain from hedging some of its position until after the close of trading,

so as to ensure that Credit Suisse’s hedging did not unduly impact market prices—nowhere close

to the $475 million to $542 million that Plaintiffs allege; and (iv) in May 2021, based on this

information, the SEC had “concluded its investigation” without taking any enforcement action

against Credit Suisse or any individuals.3 Other uncontroverted evidence corroborates these facts.

         Yet Plaintiffs did nothing to acknowledge the fatal flaws in the Complaint or to develop

some new theory for nearly another year-and-a-half. Rather, they chose to wait until the tail-end

of discovery to attempt to find an entirely new—but still undisclosed—theory to somehow tie

Credit Suisse to the trading activity of third parties across the VIX futures market. Plaintiffs did

not take meaningful discovery regarding the activities of these third parties until after the original

(September 2022) fact discovery deadline4—and long after the July 2022 amendment deadline.5

And it was not until Plaintiffs filed their motion for leave on April 28, 2023 that Defendants were


3
    (ECF No. 312-33 (Decl. Ex. K (July 30, 2021 Presentation) at 3).)
4
 The original deadline was September 17, 2022 (ECF No. 166). It was extended three times, once
over Defendants’ objection (ECF Nos. 175, 188, 212). The parties then agreed to a fourth
extension (until February 28, 2023) to complete three discrete tasks, none of which involved third-
party discovery (ECF No. 218).
5
  Plaintiffs had until 30 days after the document production deadline (i.e., July 2022) to amend
“except for good cause.” (ECF No. 175.)


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finally informed of Plaintiffs’ new theory of liability.

       After full briefing and oral argument, on January 2, 2024, Magistrate Judge Netburn denied

Plaintiffs’ motion for leave to amend, finding that Plaintiffs’ new lending theory of liability,

introduced years into this case, would be unduly prejudicial and that Plaintiffs’ attempt to revive

the previously-dismissed Flatline Value Claim was futile.6 (Order at 8–10.) On January 30, 2024,

Plaintiffs filed their Objections to Magistrate Netburn’s Order. (ECF No. 337.)

                                    STANDARD OF REVIEW

       This Court “may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1)(C). In general, rulings

on non-dispositive matters by a magistrate judge are subject to review for clear error (Fed. R. Civ.

P. 72(a)) and rulings on dispositive matters are reviewed de novo (Fed. R. Civ. P. 72(b)(3)).

Plaintiffs argue for different standards of review for various aspects of the Order. (See Obj. at 6–

7, 15–16.) This exercise is largely academic because Plaintiffs’ Objections fail under any standard.

Nonetheless, as a technical matter, the Order should be reviewed for clear error for two reasons.

       First, even dispositive motions are subject to review only for clear error where—as here—

the objecting party has not raised anything new, but simply rehashes arguments considered and

rejected by the magistrate judge. See Wileisa Annette S. v. Comm’r of Soc. Sec., 2023 WL

1515772, at *1 (S.D.N.Y. Feb. 3, 2023) (objections that “merely re-assert arguments already

submitted to the Magistrate Judge” warrant review only for clear error); Kiggins v. Barnhart, 2004

WL 1124169, at *1 (S.D.N.Y. May 20, 2004) (where objections “essentially reiterate[d] the


6
  For the reasons set out above, and in Defendants’ Opp., Defendants continue to maintain that
Plaintiffs have not met the “good cause” standard for amendment under Federal Rule of Civil
Procedure 16. Magistrate Judge Netburn held that it “would be within [the Court’s] discretion to
apply the good cause standard of Rule 16(b)(4)” but found that because Plaintiffs’ motion failed
“under the more lenient standard of Rule 15(a), Plaintiffs necessarily do not meet the heightened
good cause standard or Rule 16.” (Order at 5–6.)


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arguments in his earlier submissions,” a district court “reviews the entire Report and

Recommendation for clear error”).7 Here, Plaintiffs’ Objections largely repeat the same arguments

that they raised in their briefs before Magistrate Judge Netburn.8

       Second, a clear error review is also appropriate because the Order is not dispositive. “[T]he

weight of authority within this Circuit classifies a motion to amend a pleading as non-dispositive.”

Trombetta v. Novocin, 2021 WL 6052198, at *6 (S.D.N.Y. Dec. 21, 2021), reconsideration denied,

2022 WL 280986 (Jan. 31, 2022); (see also Order at 10) (collecting cases). This Court should

follow that precedent, which—contrary to Plaintiffs’ argument (Obj. at 15)—still holds even where

the rejected amendment includes a new proposed claim. See Xie v. JPMorgan Chase Short-Term

Disability Plan, 2018 WL 501605, at *1 (S.D.N.Y. Jan. 19, 2018) (“[C]ourts in this district appear

to have consistently applied the clearly erroneous standard to evaluate the denial of leave to amend

by a magistrate judge, regardless of whether the denial foreclosed potential claims.”); LoCurto

v. AT&T Mobility Servs. LLC, 2017 WL 11826511, at *2 (S.D.N.Y. July 17, 2017) (Torres, J.)



7
  This rule remains applicable even where a magistrate judge denies leave to amend on futility
grounds. See, e.g., Kulkarni v. Actavis Generics, 2023 WL 6289963, at *2 (S.D.N.Y. Sept. 27,
2023) (district court reviewed recommendation to deny motion for leave to amend on futility
grounds for clear error where plaintiff’s “only objection reiterates an argument made before and
addressed by [the magistrate judge] in her well-reasoned Report”); Sparrow Fund Mgmt. LP v.
MiMedx Grp., 2020 WL 1330283, at *4 (S.D.N.Y. Mar. 22, 2020) (district court reviewed
magistrate judge’s ruling “only for clear error” where objections to futility determination simply
“rehash[ed] . . . the same arguments set forth in [its opposition brief]”).
8
   (Compare Obj. at 1, 8–9 (arguing the proposed amendments “leave the operative claims
unchanged” and merely “seek to add factual detail”) with ECF No. 304 (Mem. of Law in Support
of Lead Pls.’ Mot. to Amend the Compl. to Conform to the Evidence (“Pl. Br.”)) at 13–14 (arguing
that the “[a]mendment only serves to expand the basis upon which Plaintiffs allege Defendants’
filings were false and misleading [and] the manner in which Defendants engaged in their
manipulative conduct”); compare Obj. at 18–20 (arguing that “the PTAC alleges, based on facts
adduced in discovery . . . Credit Suisse indeed calculated and monitored the VIX Futures Index”)
with Pl. Br. at 14 (arguing “[t]he amended allegations . . . provide . . . documents and sworn
testimony proving . . . that Credit Suisse did devote resources to calculating and utilizing a
redundant pricing index for VIX futures contracts”).)


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(“[T]he weight of opinion in this District appears to favor treating as nondispositive a magistrate

judge’s decision that denies a plaintiff’s request to amend the complaint to add new claims.”).

       For both of these reasons, a “clearly erroneous standard” is applicable here. A magistrate

judge’s order is “clearly erroneous only when the reviewing court on the entire evidence is left

with the definite and firm conviction that a mistake has been committed.” LoCurto, 2017 WL

11856511, at *2 (affirming magistrate decision denying leave to amend). “This standard of review

is highly deferential; magistrate judges are afforded broad discretion in resolving nondispositive

disputes and reversal is appropriate only if their discretion is abused.” CapLOC, LLC v. McCord,

2020 WL 1030965, at *2 (S.D.N.Y. Mar. 3, 2020) (Torres, J.).

                                          ARGUMENT

I.     THIS COURT SHOULD AFFIRM MAGISTRATE JUDGE NETBURN’S RULING
       AS TO PLAINTIFFS’ PROPOSED NEW THEORY OF LIABILITY

       Magistrate Judge Netburn denied Plaintiffs’ motion for leave to add a new theory of

liability for manipulation, finding it unduly prejudicial for two reasons.9 Both reasons are well-

supported by the record and applicable caselaw. They should be affirmed.

       First, Magistrate Judge Netburn correctly found that Defendants had met their burden of

establishing that the proposed amendment would “necessitate reopening discovery and extensive

third-party discovery” that “would unquestionably consume months of additional discovery and

cost hundreds of thousands of dollars (or more).” (Order at 6–7.) See Section I.A. Second, she

correctly found that allowing Plaintiffs to recast their theory of liability for manipulation—years


9
  In denying Plaintiffs’ motion to amend on prejudice grounds, Magistrate Judge Netburn did not
reach Defendants’ argument that Plaintiffs’ new theory of liability also should be denied as futile.
Accordingly, no court to date has ruled on the plausibility or, as Defendants submit, the
implausibility of Plaintiffs’ new theory. If this Court overturns Magistrate Judge Netburn’s Order,
and permits Plaintiffs to amend the complaint to now assert this new theory of liability, Defendants
intend to exercise their right to move to dismiss the new complaint for failure to state a claim
pursuant to Federal Rule of Civil Procedure 12(b)(6).


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after Plaintiffs were on notice of the defects in their original theory—would be unduly prejudicial.

See Section I.B. This Court should affirm Magistrate Judge Netburn’s ruling on both grounds.

        A.      Magistrate Judge Netburn Correctly Held That Plaintiffs’ New Lending
                Theory Would Require Substantial Additional Discovery

        Magistrate Judge Netburn correctly held that permitting Plaintiffs to assert an entirely new

theory of liability at this late stage of the litigation would unfairly prejudice Defendants. Plaintiffs

baldly claim that “there is no adequate factual or legal basis for a finding of undue prejudice.”

(Obj. at 7.) But they can only make this argument by repeatedly (and misleadingly) minimizing

the amendments they seek to make, arguing that they “leave the operative claims unchanged” (id.

at 8) and merely “seek to add factual detail” concerning their existing claims (id. at 1). Magistrate

Judge Netburn correctly rejected this argument: “Plaintiffs’ proposed Third Amended Complaint

does not merely expand the basis upon which Plaintiffs allege the Offering Documents were false

and misleading or elaborate on the manner of Defendants’ manipulative conduct. It is a new case

focused on Defendants’ lending practices and not their hedging.” (Order at 8–9; see also id. at

6–8.) And this Court should do the same.

        Plaintiffs’ new theory is that Defendants somehow knew and intended that numerous

unnamed third parties would trade enormous numbers of VIX futures contracts on February 5,

2018 so that XIV would collapse. As Magistrate Judge Netburn correctly found, “[u]ndertaking a

defense in this new [proposed] case would be substantial,” and “would unquestionably consume

months of additional discovery and cost hundreds of thousands of dollars (or more).” (Id. at 7.)

And her ruling was sound, because courts routinely deny motions to amend where—as here—the

proposed amendment would require substantial additional discovery. See, e.g., Morency v. NYU

Langone Med. Ctr. Hosp., 2017 WL 1536057, at *4 (S.D.N.Y Apr. 17, 2017) (denying motion to

amend where amendment “require[d] reopening discovery into an entirely new theory of



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liability”), aff’d sub nom. Morency v. NYU Hosps. Ctr., 728 F. App’x 75 (2d Cir. 2018); Fredericks

v. Chemipal, Ltd., 2007 WL 1975441, at *2 (S.D.N.Y. July 6, 2007) (denying leave to amend in

light of “[s]ignificant additional discovery”); In re Am. Int’l Grp., Inc. Sec. Litig., 2008 WL

2795141, at *3 (S.D.N.Y. July 18, 2008) (denying leave to amend where it would impose “new

discovery burdens in [the] litigation” regarding “an entirely new theory of relief”).

       In their Objections, Plaintiffs label any additional discovery a “mere inconvenience” and

argue that any discovery could be “minimal” and “narrowly tailored” to focus on “Credit Suisse’s

own knowledge and intent.” (Obj. at 7, 9–10.) Not so. Plaintiffs’ new theory of liability would

ultimately require evidence of the trading behavior and intent of numerous third-party actors. For

example, it would be necessary to show that these third parties intended to and did, in fact, trade

significant quantities of VIX futures contracts which, in turn, caused prices in the VIX futures

market to be manipulated. It is unreasonable for Plaintiffs to suggest that discovery concerning

the actual conduct and intent of these actors is irrelevant or unnecessary. Additional discovery

would require, at least, the identification of the approximately 100 relevant market participants

that Plaintiffs now maintain caused the collapse; third-party document subpoenas on these market

participants, seeking documents relating to their positions, incentives, trading/hedging strategies,

knowledge about a potential liquidity crunch, and trading/hedging activities on February 5, 2018;

and the depositions of numerous third parties on these same topics. (See Defendants’ Opp. at 10–

11.)10 Magistrate Judge Netburn—who has overseen discovery in this case for two years—



10
   Plaintiffs also attempt to minimize this additional discovery by arguing that Plaintiffs consent
to it and that it would not affect the case schedule since no trial date has been set. (Obj. at 8.) But
the discovery that Defendants need is not from Plaintiffs. Plaintiffs’ consent does not make
securing voluminous discovery from numerous third parties any less burdensome. Moreover, the
“months of additional discovery” that would be required (Order at 7) obviously would affect the
case schedule as it impacts this Court’s ability to set any firm date for summary judgment or trial,
prolonging this case even further.


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correctly dismissed Plaintiffs’ self-serving argument that this discovery is “unnecessary,”

recognizing that “Defendants would surely be entitled to mount a defense beyond” the limited

defense—and limited discovery—that Plaintiffs suggest should be sufficient. (Order at 7, 9.)

       Plaintiffs also argue that Magistrate Judge Netburn erred by supposedly misconstruing

Plaintiffs’ proposed amendments and “the governing legal standard.” (Obj. at 10–11.) But

Magistrate Judge Netburn did not—as Plaintiffs maintain—hold that Plaintiffs were required to

plead that Credit Suisse knew “to a certainty how the third-party borrowers would act” in order to

state a claim. (Id.) In that one sentence on which Plaintiffs focus, Magistrate Judge Netburn was

merely summarizing—accurately—the new theory that Plaintiffs themselves seek to assert. (See,

e.g., PTAC ¶ 7 (alleging that Credit Suisse purportedly “knew” and “actively incentivized” certain

third parties to act in a way that would drive up the price of VIX futures, draw down the price of

XIV Notes, and allow Credit Suisse to declare an acceleration event); ¶ 160 (alleging that Credit

Suisse intentionally “pack[ed] the market full of short-sellers it knew would collapse the [XIV]

Note” and allow Credit Suisse to announce an acceleration event).) She simply did not hold that

scienter requires Plaintiffs “to plead” or “prove at trial, a party’s certainty.” (Obj. at 11.) Indeed,

Magistrate Judge Netburn never reached the issue of the legal sufficiency of Plaintiffs’ proposed

amendment and decided this aspect of Plaintiffs’ motion solely on prejudice grounds.

       Plaintiffs also seek to point the finger at Defendants for the delay, arguing that Defendants

were supposedly “on notice that Plaintiffs were probing the question of Credit Suisse’s lending

practices for many months” and therefore should have already pursued the discovery they would

need to defend the claims Plaintiffs only recently sought to assert. (Id. at 9.) But Defendants

cannot be expected to divine Plaintiffs’ new theory of liability by virtue of document requests or

questions posed at depositions. As Magistrate Judge Netburn explained in correctly rejecting




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Plaintiffs’ argument on this point, particularly in light of the heightened pleading requirements

applicable to fraud claims, “it is unreasonable to place the burden on a defendant in a securities

fraud case to guess at the theory of liability.” (Order at 8.) Plaintiffs did not articulate their new

theory of liability until their motion for leave to amend was filed in April 2023—well after the

close of discovery. It would be unfairly prejudicial to now foreclose Defendants from pursuing

the discovery they need to defend against that new theory.

          Finally, Plaintiffs argue that Magistrate Judge Netburn erred by failing “to consider the

burden and efficiency concerns that denial of Plaintiffs’ motion implies.” (Obj. at 10 (emphasis

in original).) In short, Plaintiffs argue that notwithstanding any decision by Magistrate Judge

Netburn or this Court on Plaintiffs’ motion for leave to amend, Plaintiffs will continue to press

these new claims at summary judgment and trial such “that this bridge [of delay and prejudice]

will need to be crossed a second, if not third, time.” (Id. at 10.) Plaintiffs’ argument is based on

the false assumption that “the facts Plaintiffs seek to allege now will necessarily be evidence at a

trial” or at summary judgment “absent pre-trial amendment.” (Order at 5.) They will not. If this

Court affirms Magistrate Judge Netburn’s Order, Plaintiffs’ rejected claims will not be a subject

at summary judgment or at any trial. See Seeman v. Gracie Gardens Owners Corp., 794 F. Supp.

2d 476, 482 (S.D.N.Y. 2011) (“An opposition to a summary judgment motion is not the place for

a plaintiff to raise new claims.”); Perez v. City of New York, 2020 WL 1272530, at *1 n.1, 13 n.8

(S.D.N.Y. Mar. 16, 2020) (holding that plaintiff could not raise claims at summary judgment that

were not included in complaint). Moreover, Plaintiffs’ apparent plan to circumvent an order of

this Court and to continue to attempt to introduce their lending theory of liability at later phases of

this case is simply not grounds to give them the relief they now seek.11



11
     The sole case Plaintiffs rely on does not support Plaintiffs’ argument. The court in Livingston


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       B.      Magistrate Judge Netburn Correctly Held That It Is Unduly Prejudicial to
               Defendants to Face a Significantly New Theory of Liability After Defendants
               Have Argued for Years That Plaintiffs’ Original Theory Was Flawed

       In addition to the undue prejudice that Defendants would face by virtue of many months

of additional expensive discovery, Magistrate Judge Netburn found that “it is unduly prejudicial

to Defendants to face a significantly new theory of liability after [Credit Suisse] has argued for

years—to Plaintiffs and the Court of Appeals—that the original theory was built on a house of

cards.” (Order at 7–8.) Plaintiffs’ recycled arguments on this point all lack merit.

       First, Plaintiffs argue that, pursuant to Federal Rule of Evidence 408, Magistrate Judge

Netburn should not have considered the July 2021 presentation made by Defendants to Plaintiffs

identifying the factual flaws in Plaintiffs’ operative theory. (Obj. at 12–13.) Plaintiffs misconstrue

Rule 408, which only precludes the use of settlement-related materials as evidence “to prove or

disprove the validity or amount of a disputed claim or to impeach by a prior inconsistent statement

or a contradiction.” Fed. R. Evid. 408(a). Defendants did not offer the July 2021 presentation for

such purposes, but rather to demonstrate prejudice and Plaintiffs’ undue delay. And Magistrate

Judge Netburn considered the presentation for these same proper purposes. See Fed. R. Evid.



v. Trustco Bank, 2021 WL 6199655, 120-cv-1030 (N.D.N.Y. Apr. 23, 2021) did not hold, as
Plaintiffs seem to suggest (Obj. at 10), that a plaintiff is free to pursue a claim even if the court
denies leave to amend to add it. Rather, the court in Livingston held that it would not determine
futility on a motion for leave to amend at an “early stage of the litigation,” finding that it was a
“far better conservation of judicial and party resources to permit the amendment, declare the []
Amended Complaint as the operative complaint, and then let any order on a motion to dismiss
determine the facial validity of the [] claim[s].” Id. at *2. This is what then happened. Plaintiffs
in Livingston filed their amended complaint (Am. Compl., Livingston v. Trustco Bank, 120-cv-
1030 (N.D.N.Y. Apr. 26, 2021), ECF No. 42); defendant filed a motion to dismiss (Def.’s Mot. to
Dismiss, Livingston v. Trustco Bank, 120-cv-1030 (N.D.N.Y. June 16, 2021), ECF No. 46); and
the court ultimately dismissed four of the five claims on the motion to dismiss (Decision and Order,
Livingston v. Trustco Bank, 120-cv-1030 (N.D.N.Y. Mar. 16, 2022), ECF No. 66). As the court
in Livingston recognized, the “procedural posture” of that case—which was still at the pleading
stage—was “significant” in granting the motion to amend. Livingston, 2021 WL 6199655, at *2.
Its reasoning has no application here.


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408(b) (settlement-related materials may be admitted for purposes other than proving liability,

“such as proving a witness’s bias or prejudice, negating a contention of undue delay, or providing

an effort to obstruct a criminal investigation or prosecution”); Am. Lecithin Co. v. Rebmann, 2020

WL 4260989, at *11 n.25 (S.D.N.Y. July 24, 2020) (A trial court has “broad discretion” to “admit

evidence of settlement . . . offered for another purpose” not prohibited under FRE 408).

       Plaintiffs next argue that Magistrate Judge Netburn’s ruling unfairly “penaliz[es]”

Plaintiffs for not immediately crediting Defendants’ presentation in July 2021. (Obj. at 13.) This

again misstates Defendants’ argument and Magistrate Judge Netburn’s holding. Defendants have

never argued, nor did Magistrate Judge Netburn hold, that Plaintiffs were required to accept

Defendants’ representations on their face and conduct no discovery of their own.12 Of course,

Plaintiffs were entitled to test Defendants’ representations through discovery. But after discovery

proved false the key factual allegations on which Plaintiffs (and the Second Circuit) had relied,

Plaintiffs were not entitled to sit idly by considering their options for many months while

Defendants incurred substantial expense in continuing to defend themselves against allegations

Plaintiffs knew to be false.

       As Magistrate Judge Netburn correctly found, it is unduly prejudicial to allow Plaintiffs to

“recast their case five years after it was filed, two years after it was remanded from the Court of

Appeals, and (at least) months (if not years) after Defendants’ document production suggested the

operative theory may be weak.” (Order at 8.) Numerous authorities in this Circuit support that

conclusion. See Barrows v. Forest Lab’ys, Inc., 742 F.2d 54, 58 (2d Cir. 1984) (“The district court




12
  To be clear, Defendants did not just make representations about Credit Suisse’s hedging activity,
but also pointed Plaintiffs to evidence corroborating Defendants’ representations. (See ECF No.
312–33 (July 2021 Presentation) (citing CS_XIV_222422; CS_XIV_000694; and
CS_XIV_000111, which were produced on June 30, 2021).)


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acted well within its discretion in concluding that appellants’ new claims would unfairly prejudice

appellees by substantially altering the complaint’s theories of relief.”); Fredericks, 2007 WL

1975441, at *2 (denying leave to amend as prejudicial where “[p]laintiff’s new theory of the case

would essentially require starting from scratch” and “[s]ignificant additional discovery would be

inevitable”).

       Finally, Plaintiffs argue that “where Defendants caused the very delay of which they now

complain, they cannot establish prejudice as a matter of law.” (Obj. at 13 (emphasis in original).)

Plaintiffs cite no authority in support of this proposition and Defendants are aware of none. In any

event, the delay was in no way Defendants’ fault. Plaintiffs’ principal argument is that Defendants

had the temerity to object to discovery requests that, on their face, were unrelated to Plaintiffs’

theory of liability, as articulated in the operative complaint. (See id. at 13–14.) But Defendants

were well within their rights to object, and their objections do not change the fact that Plaintiffs

waited too long to pursue their new theory (and never sought to compel the production of the

objected-to materials).13

       In sum, Plaintiffs’ extremely tardy motion to assert a new theory of liability was properly

denied as unduly prejudicial to Defendants. Magistrate Judge Netburn’s Order should stand.

       C.       Magistrate Judge Netburn Correctly Denied Leave to Amend as to the
                Alleged Misstatement Concerning Credit Suisse’s Lending Practices

       Plaintiffs now argue for the first time that their proposed amendments include a “new

claim” under both the Exchange Act and the Securities Act based on a new alleged misstatement



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   Plaintiffs also argue (again) that their motion for leave to amend was timely because the Court’s
Fourth Amended Scheduling Order included the parties’ agreed-upon briefing schedule for the
motion to amend—with Defendants reserving all rights to object to the motion on the grounds of
untimeliness. (Obj. at 14.) Magistrate Judge Netburn correctly ruled that Plaintiffs’ argument
“does not gel with the three prior scheduling orders, which all set the date to file a motion to amend
at 30 days after the substantial completion of document discovery,” i.e., July 2022. (Order at 4.)


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regarding Credit Suisse’s lending of XIV Notes. (Obj. at 15.) Plaintiffs further argue that

Magistrate Judge Netburn’s denial of this “new claim” was dispositive and thus subject to review

(again) under a de novo standard. (Id. at 16.)

       But as set out above, the entire Order is subject to a clear error review because the

Objections are a mere rehash. And Plaintiffs’ effort to avoid this stringent review standard by

suddenly recasting some of the proposed amended allegations as a “new claim” is unavailing.

       In order to convince Magistrate Judge Netburn that an amendment should be allowed,

Plaintiffs insisted repeatedly that their amendments were modest, and involved no new claims.

(See, e.g., Pl. Br. at 1 (“Plaintiffs now move to amend—not to add any new defendants, claims

or SEC filings alleged to be false and misleading—but simply to elaborate on and substantiate with

evidence Plaintiffs’ sustained claims . . . .”); id. at 3 (“The Third Amended Complaint does not

add any claims, defendants or false and misleading documents.”); id. at 12–13 (“Finally, while the

amended allegations are important, the Amended Complaint does not allege any new causes of

action . . . .”); ECF No. 331 (Tr. of Oral Arg.) at 11:18–21 (“[W]e are purely amending to conform

the pleadings to the evidence . . . We don’t add a claim.”).)14

       When that argument failed, Plaintiffs attempted to pivot in their Objections, arguing for

the first time that their Proposed Complaint actually did contain a “new claim,” and that this Court

should apply a de novo review standard to the Order with respect to this new claim. But Plaintiffs’

last minute change of heart cannot be credited. See, e.g., Silverman v. 3D Total Sols., Inc., 2020

WL 1285049, at *2 (S.D.N.Y. Mar. 18, 2020) (Torres, J) (“[N]ew arguments and factual assertions

cannot properly be raised for the first time in objections to the report and recommendation, and



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  Magistrate Judge Netburn expressly acknowledged this in her Order: “Plaintiffs emphasize that
they are not adding claims . . . Instead, they seek to add a new theory of liability regarding the
manner in which Defendants engaged in manipulative conduct.” (Order at 2.)


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indeed may not be deemed objections at all.”).

        In any event, Plaintiffs’ purportedly new misstatement claim arising out of Credit Suisse’s

lending practices is not substantively different from Plaintiffs’ new theory of manipulation arising

out of Credit Suisse’s lending practices. Both rest on the premise that Credit Suisse knew or had

reason to believe that third-party “borrowers would impact prices of XIV Notes” through their

hedging or other conduct. (Obj. at 17.) Thus, however Plaintiffs attempt to frame it, Plaintiffs’

recasting of this case to focus on Credit Suisse’s lending of XIV Notes, and the trading activities

of those who borrowed from Credit Suisse, would be a substantial and fundamental change to the

matters currently at issue and require substantial additional discovery.

        Plaintiffs again self-servingly argue that their lending theory—when framed as a new

alleged misstatement—“implicates no additional discovery.” (Id. at 16 (emphasis in original).)

But again it is not for Plaintiffs to decide what discovery Defendants would need to defend

themselves. Magistrate Judge Netburn correctly rejected that argument. (Order at 7.) Moreover,

the discovery that Magistrate Judge Netburn found would be relevant and necessary on Plaintiffs’

new theory of liability is no less relevant and necessary when the new theory of liability is tied to

a misstatement claim, rather than a manipulation claim.

        Finally, it is apparent that Plaintiffs’ argument on this point is merely an attempt to find a

way to introduce some evidence of “lending” into this case at summary judgment or trial with the

hope that the rest of Plaintiffs’ lending theory of liability can follow.15 Indeed, Plaintiffs have been

quite upfront that they will continue to pursue their lending theory of liability notwithstanding the

denial of their motion for leave to amend. (See, e.g., Obj. at 10 (“These allegations [concerning



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  Though it is beyond the scope of the pending motion, it is folly for Plaintiffs to suggest that
Credit Suisse’s lending of XIV Notes could somehow support a misrepresentation claim. Credit
Suisse would move to dismiss were Plaintiffs permitted to assert this “new” claim.


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lending] may still be litigated on the merits at summary judgment or trial, meaning that this bridge

will need to be crossed a second, if not third, time.”).) This Court should not permit Plaintiffs’

attempt to end-run the Federal Rules. Plaintiffs’ proposed new claims were properly denied and

any evidence relating to those claims should be excluded at all future phases of this case.

II.     MAGISTRATE JUDGE NETBURN CORRECTLY HELD THAT PLAINTIFFS’
        PROPOSED FLATLINE VALUE CLAIM IS FUTILE

        The IIV of XIV was a figure designed to approximate the value of an XIV Note at a given

time. It was calculated by former defendant Janus Index & Calculation Services LLC, not Credit

Suisse, and published to the market every 15 seconds on each business day. The IIV was calculated

“based on the inverse of price changes observed on the VIX Futures Index.” Set Cap. LLC, 996

F.3d at 70. Because the IIV used the VIX Futures Index as an input, when the VIX Futures Index

flatlined on February 5, 2018, the IIV also “flatlined.” Id. at 73 n.22. Plaintiffs’ Flatline Value

Claim asserts that Credit Suisse knew that the IIV was inaccurate during the Flatline Period but

did nothing to correct it. (PTAC ¶ 11.)

        Both this Court and the Second Circuit rejected Plaintiffs’ original Flatline Value Claim

because Plaintiffs failed to adequately allege scienter. (Order at 9–10); Set Cap. LLC, 996 F.3d at

82–84. To state a claim that Credit Suisse knowingly or recklessly failed to correct the IIV,

Plaintiffs were required to plead that Credit Suisse was aware or recklessly disregarded that the

VIX Futures Index itself (again, an input to the IIV) was incorrect. As the Second Circuit

explained: “[i]n order to identify computing errors in the VIX Futures Index,” the Defendant

“would have been required to monitor the VIX Futures Index” for accuracy by “compar[ing] it to

the values of its underlying inputs—i.e., the real-time prices for VIX futures contracts.” Id. at 83;

(see also Order at 9–10.) Finding that Plaintiffs failed to plead that Credit Suisse had monitored

the VIX Futures Index for accuracy or had compared it to real-time prices for VIX futures



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contracts, the Second Circuit affirmed the dismissal of Plaintiffs’ first attempt to plead its Flatline

Value Claim. Set Cap. LLC, 996 F.3d at 83.

       Repeating the arguments made to Magistrate Judge Netburn, Plaintiffs claim that the PTAC

contains “exactly” the “missing information” the Second Circuit identified.16 (Order at 9.) As

Magistrate Judge Netburn correctly held, however, Plaintiffs’ allegation that “Credit Suisse

maintained an internal IIV calculation and that traders were comparing the published IIV with their

own internal calculation[,]” “does not fill the void.” (Id.) “Plaintiffs still do not allege that

Defendants monitored the VIX Futures Index for accuracy or that Defendants created a redundant

internal VIX Futures Index.” (Id. (emphasis in original).) Internally calculating the IIV is not the

same, and is insufficient to state a claim. (Id. at 9–10); see also Set Cap. LLC, 996 F.3d at 83.

       Plaintiffs claim that Magistrate Judge Netburn erred because she failed to accept Plaintiffs’

unsupported and implausible allegation that, in calculating the IIV, Credit Suisse must have also

been re-calculating the VIX Futures Index. (Obj. at 20.) Yet, none of the documents or testimony

cited in the PTAC support such a claim; indeed, none make any mention whatsoever of a supposed

recalculation or duplication of the VIX Futures Index.17 (See id. at 18–20.) Plaintiffs’ argument

is based solely on their leap of logic that “[f]or the internal calculation [of the IIV] to serve as an

internal check, it would necessarily require independent calculation” of the “key variable” of the


16
   As Magistrate Judge Netburn recognized, Plaintiffs do not address any of the other aspects of
the Second Circuit’s decision, including that the Offering Documents specifically warned investors
about the possibility of potential delays in the calculation of the VIX Futures Index that would lead
to potential inaccuracies in the IIV or that Plaintiffs failed to allege scienter through “motive or
opportunity” allegations. (Order at 9 n.3.)
17
   The main factual support for Plaintiffs’ claim is an email from a Credit Suisse employee that
references only a potential internal calculation of the IIV for certain notes, including XIV. (Obj.
at 20) (citing ECF No. 312-39).) The referenced document simply says nothing about Credit
Suisse recalculating or duplicating the VIX Futures Index itself or that Credit Suisse was assessing
the accuracy of the VIX Futures Index by comparing it to real-time prices for VIX futures
contracts.


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VIX Futures Index. (Id. at 20.) This is exactly the kind of unwarranted, conclusory allegation that

cannot meet a notice pleading standard, let alone the heightened pleading standards applicable

here, and Magistrate Judge Netburn properly rejected it. Lentell v. Merrill Lynch & Co., 396 F.3d

161, 174–75 (2d Cir. 2005) (holding that on a motion to dismiss, “conclusions of law or

unwarranted deductions of fact are not admitted”). Indeed, as the Second Circuit found, it would

be “unreasonable to infer” that, notwithstanding that it was the third-party index provider’s

responsibility to calculate the VIX Futures Index, another entity would “nonetheless devote[]

resources to calculat[e] a redundant pricing index for VIX futures contracts.” Set Cap. LLC, 996

F.3d at 84. Plaintiffs’ proposed new allegations do not overcome this conclusion.

       In short, the factual allegations Plaintiffs seek to add in support of their Flatline Value

Claim support only an inference that Credit Suisse maintained an internal IIV calculation. Even

accepting these allegations as true, Plaintiffs have not alleged “that Defendants knowingly or

recklessly failed to correct the Flatline Value.” (Order at 10.) Accordingly, Plaintiffs’ attempt to

revive their Flatline Value Claim is futile and was properly denied. See Attestor Value Master

Fund v. Republic of Argentina, 940 F.3d 825, 833 (2d Cir. 2019) (“[D]enial of leave to amend is

proper if amendment would be futile.”).

                                          CONCLUSION

       For the foregoing reasons, the Court should reject Plaintiffs’ Objections to the Order.




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Dated: February 29, 2024            CAHILL GORDON & REINDEL LLP
       New York, New York
                                     By: /s/ Herbert S. Washer
                                         Herbert S. Washer
                                         Tammy L. Roy
                                         Edward N. Moss
                                         Adam S. Mintz
                                     32 Old Slip
                                     New York, New York 10005
                                     Telephone: (212) 701-3000
                                     Facsimile: (212) 269-5420
                                     hwasher@cahill.com
                                     troy@cahill.com
                                     emoss@cahill.com
                                     amintz@cahill.com
                                     Attorneys for Credit Suisse Group AG,
                                     Credit Suisse AG, Credit Suisse
                                     International, Tidjane Thiam, and David
                                     R. Mathers




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